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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBLA

UNITED STATES OF AMERICA,

V.
crim No. 17-201-01 (ABJ)
PAUL J_ MANAFORT, JR.,

V\/V\/V\/\_/

Defendant.

PAUL J. MANAFORT, JR.’S WAIVER OF APPEARANCE
FOR PRETRIAL PROCEEDINGS

I, Paul J. Manafort, Jr., submit this written Waiver of my right to appear at all pretrial
proceedings in this case. I Wish to appear in this case solely for jury selection proceedings, the
jury trial, and any potential sentencing hearing

I have been advised of my right to be present at all stages of these proceedings and, With a
full and complete understanding of my rights, have agreed that my interests Will be represented at
all pretrial proceeding by the presence of my attorneys. I Waive my right to appear at all pretrial
proceedings because of the time involved in having the U.S. Marshal Service transport me to and
from the courthouse for each pretrial appearance

Dated: August 27, 2018 Respectfully submitted,

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Paul J/Manafonp'r.

